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                             Exhibit 1
Case 1:19-md-02875-RMB-SAK                          Document 2939-1           Filed 12/03/24   Page 2 of 3 PageID:
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Matthew R. Mendelsohn*°                                                                           Julia S. Slater°
David M. Estes                                                                                    Trevor D. Dickson
Adam M. Epstein°
                                                                                                  °Member of N.J. & N.Y. Bars
*Certified by the Supreme Court of
New Jersey as a Civil Trial Attorney


                                                       October 24, 2024

     VIA EMAIL
     Jessica Davidson, Esq.
     Skadden, Arps, Slate, Meagher & Flom LLP
     One Manhattan West
     New York, New York 10001

                RE: In re Valsartan Products Liability Litigation, No. 1:19-md-02875

     Dear Jessica:
                The Court ordered Plaintiffs to take Jinsheng Lin’s deposition in anticipation

     for his trial testimony. In preparation for that deposition, Plaintiffs have reviewed

     ZHP’s document production for policies or procedures that would allow for the

     destruction of his custodial file from November 2017 and earlier; however, Plaintiffs

     have been unable to find such documents. Please identify those documents or

     produce them immediately.

                Plaintiffs have also reviewed ZHP’s document production for the certificates

     of analysis and material safety data sheets from its dimethylformamide,

     triethylamine, and triethylamine hydrochloride suppliers. Plaintiffs have not been
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                                       108327
  Jessica Davidson, Esq.
  Skadden, Arps, Slate, Meagher & Flom LLP
  October 24, 2024
  Page 2

  able to find these documents in the production. Please identify the suppliers’

  certificates of analysis and material safety data sheets for the entire relevant time

  period in the production, or produce them immediately.

        If you are unwilling to provide any of these documents/identify them in the

  production if already produced, please advise so we can submit the issue to Judge

  Vanaskie for resolution.

                                  Thank you,


                                  ADAM M. SLATER
